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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


 In re:                                                                  Chapter 11

 Lordstown Motors Corp., et al.,                                         Case No. 23-10831 (MFW)

                                Debtors.                                 (Jointly Administered)

                                                                         Related to D.I. 199 & 265



         FIRST SUPPLEMENTAL DECLARATION OF MICHAEL A. VANNIEL
     IN SUPPORT OF DEBTORS’ APPLICATION FOR AN ORDER AUTHORIZING
      THE RETENTION AND EMPLOYMENT OF BAKER & HOSTETLER LLP AS
           SPECIAL LITIGATION AND CORPORATE COUNSEL FOR THE
         DEBTORS, EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

          I, Michael A. VanNiel, hereby declare, pursuant to 28 U.S.C. § 1746, that the following

statements are true and correct, to the best of my knowledge and belief, after due inquiry described

herein.

          1.        I am a partner of the law firm of Baker & Hostetler LLP (“Baker”), located at Key

Tower, 127 Public Square, Suite 2000, Cleveland, Ohio 44114-1214. I am a member in good

standing of the Bar of the State of Ohio. I have been admitted to practice in Ohio. I have been

admitted to practice, and am a member in good standing, in the United States District Courts for

the Northern and Southern Districts of Ohio, the United States Court of Appeals for the Sixth

Circuit, and the United States Court of Appeals for the Tenth Circuit. I have never been the subject

of any disciplinary proceedings in any jurisdiction. There are no disciplinary proceedings pending

against me.

          2.        I submit this declaration (the “First Supplemental Declaration”) to supplement

my declaration, dated July 27, 2023 (the “Original Declaration”), attached as Exhibit A to the

Debtors’ Application for Entry of an Order Authorizing the Retention and Employment of Baker



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& Hostetler LLP as Special Litigation and Corporate Counsel to the Debtors Effective Nunc Pro

Tunc to the Petition Date (D.I. 199) (the “Application”).1 This First Supplemental Declaration is

intended to supplement my Original Declaration and in no way replaces anything set forth in the

Application. I am duly authorized to make this First Supplemental Declaration on behalf of Baker

and to submit this First Supplemental Declaration in support of the Application. Except as

otherwise noted, I have personal knowledge of the matters set forth herein. To the extent any

information disclosed herein requires amendment or modification upon Baker’s completion of

further analysis or as additional information becomes available, another supplemental declaration

will be submitted to the Court reflecting such amended or modified information.

           3.       As set forth in my Original Declaration, Melissa Leonard (“Ms. Leonard”), the

then-Executive Vice President, General Counsel & Secretary to the Debtors was previously a

partner and practice team leader in the mergers and acquisitions group at Baker.

           4.       Ms. Leonard has departed her positions with the Debtors and has, effective as of

December 29, 2023, rejoined Baker as a partner in its Business Group. Insofar as I have been able

to ascertain, the partners (including Ms. Leonard), counsel, and associates of Baker and I neither

hold nor represent any interest adverse to the Debtors or their estates with respect to the matters

on which Baker is employed.

           5.       Should any additional information relevant to Baker’s retention and employment

in the above-captioned cases come to Baker’s attention, Baker will file additional supplemental

declarations.

                                              [signature page follows]




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    Capitalized terms used herein but not otherwise defined shall have the meaning ascribed to them in the Application.

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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

 Dated: January 10, 2024                            By: /s/ Michael A. VanNiel
                                                         Michael A. VanNiel
                                                         Partner
                                                         Baker & Hostetler LLP




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